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18                                                 Plaintiff DAYTON SUPERIOR
                                                   CORPORATION
19
20                             UNITED STATES DISTRICT COURT
21                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
22
     PRO-SHORE, LLC; BUILD GROUP, INC.;           Case No. 3:17-cv-05295-EMC
23 and PACIFIC STRUCTURES, INC.,
24         Plaintiffs/Counterclaim Defendants,     STIPULATION FOR DISMISSAL WITH
                                                   PREJUDICE
25                v.

26 DAYTON SUPERIOR CORPORATION,
27         Defendant/Counterclaim Plaintiff.

28
                                                            STIPULATION FOR DISMISSAL WITH PREJUDICE
                                                                         Case No. 3:17-cv-05295-EMC
         Case 3:17-cv-05295-EMC Document 78 Filed 11/07/18 Page 2 of 2



 1            Plaintiffs/Counterclaim Defendants Pro-Shore, LLC, Build Group, Inc., and Pacific
 2 Structures, Inc. and Defendant/Counterclaim Plaintiff Dayton Superior Corporation hereby stipulate
 3 and agree that this action, including all claims and counterclaims of each party, is dismissed with
 4 prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, with each party
 5 to bear its own costs, expenses and attorneys’ fees.
 6
 7                                              HANSON BRIDGETT, LLP

 8
      Dated: October 30, 2018                   By: /s/ Michelle Akerman
 9                                              Michelle Akerman
10                                              Attorneys for Plaintiffs/Counterclaim Defendants
11                                              PRO-SHORE, LLC, BUILD GROUP,
                                                INC. and PACIFIC STRUCTURES,
12                                              INC.
13
                                                FISH & RICHARDSON P.C.
14
15
      Dated: October 30, 2018                   By: /s/ Lisa Greenwald-Swire
16                                              Lisa Greenwald-Swire

17                                              Attorneys for Defendant/Counterclaim Plaintiff
                                                DAYTON SUPERIOR CORPORATION
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19                                        L.R. 5-1 ATTESTATION S DISTRIC
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20                                                            T in the filing of this document has been
              The undersigned hereby certifies that concurrence
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21 obtained from the other signatories.
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22                                                               GRAN
                                                  /s/ Lisa Greenwald-Swire
                                                  Lisa Greenwald-Swire
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                                                                        STIPULATION FOR DISMISSAL WITH PREJUDICE
                                                                                     Case No. 3:17-cv-05295-EMC
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